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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  MEDIDEA, L.L.C.,

          Plaintiff / Counter-Defendant,                        CASE NO: 1:14-CV-06280
  v.
                                                                Hon. Mathew F. Kennelly
  MEDACTA USA, INC.,                                            Hon. Mag. Daniel G. Martin

          Defendant / Counter-Plaintiff.


                     STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff, MedIdea, L.L.C. (“Plaintiff”), and Defendant, Medacta USA, Inc.

 (“Defendant”) hereby stipulate and agree as follows:

         Plaintiff and Defendant stipulate and agree that the subject litigation, Civ. Action No.

 1:14-CV-06280, should be dismissed with prejudice with respect to MedIdea’s claims against

 Medacta and with respect to Medacta’s counterclaims against MedIdea. All issues have been

 resolved, the matter has settled in its entirety, and each party is to bear its own fees, costs, and

 expenses.



VANEK, VICKERS & MASINI                       ALLEN, DYER, DOPPELT,
                                              MILBRATH, & GILCHRIST, P.A.

/s/ Jeffrey R. Moran                          /s/ Jeffrey S. Boyles
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system on ____________. Any other counsel of record will be served by electronic
mail on this same date.


                                                  /s/ Jeffrey R. Moran
